             Case 1:24-cv-20289-DPG Document
JS 44 (Rev. 04/21)                     CIVIL1-2 Entered
                                              COVER     on FLSD Docket 01/24/2024 Page 1 of 2
                                                      SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
          EDDY GARCIA                                                                                         MSC CRUISES, S.A.,

    (b) County of Residence of First Listed Plaintiff                Washington County                       County of Residence of First Listed Defendant              Miami-Dade County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
        Raul G. Delgado II, Esq.                                                                              Maltzman & Partners
        Delgado Trial Attorneys                                                                               Steve Holman, Esq.
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                         of Business In This State

    2   U.S. Government                    4   Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans             ✖    340 Marine                           Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                         Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                            Other                        550 Civil Rights                  Actions                                                                State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                (specify)                 Transfer                          Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           General Maritime Law
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE
                                                                           GNATURE
                                                                                RE
                                                                                 E OF
                                                                                   OF ATTORNEY
                                                                                      A T
                                                                                      AT       OF RECORD
Jan. 24, 2024
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
